




02-12-167-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00167-CV

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&nbsp;


 
  
  Freddie and Glo Dean Gardner
  
  
  &nbsp;
  
  
  APPELLANTS
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Federal Home Loan Mortgage Corporation
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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&nbsp;

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&nbsp;

FROM THE 393rd
District Court OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

Pursuant
to our order dated January 29, 2013, we notified appellants, in
accordance with rule of appellate procedure 42.3(c), that we would dismiss this
appeal unless the $175 filing fee was paid.&nbsp; See Tex. R. App. P.
42.3(c).&nbsp; Appellants have not
paid the $175 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellants have failed
to comply with a requirement of the rules of appellate procedure and the Texas
Supreme Court’s order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).

Appellants
shall pay all costs of this appeal, for which let execution issue.&nbsp; See
Tex. R. App. P. 43.4.

&nbsp;

PER
CURIAM

PANEL:&nbsp;
MCCOY,
MEIER, and GABRIEL, JJ.

&nbsp;

DELIVERED:&nbsp;
March 14, 2013









[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







